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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 MICHELLE WELCH, for herself and all :                Case No. 1:20-cv-894
 others similarly situated,          :
                                     :                Judge Timothy S. Black
        Plaintiff,                   :
                                     :
 vs.                                 :
                                     :
 HEALING TOUCH HEALTH                :
 SERVICES LLC,                       :
                                     :
        Defendant.                   :

                            ORDER GRANTING
                  CONDITIONAL CLASS CERTIFICATION AND
                 APPROVING NOTICE TO PUTATIVE MEMBERS
                         OF COLLECTIVE ACTION

       This civil action is before this Court on the parties’ stipulation of conditional

certification under the Fair Labor Standards Act, 29 U.S.C. 216(b) and notice to putative

plaintiffs. (Doc. 8). Having considered the stipulation, the Court:

       1.     Orders that the following class is conditionally certified under 29 U.S.C.

§ 216(b):

              All current and former Direct Support Professionals, STNA’s,
              LPN’s, RN’s, House Managers, Private Duty Aides, or other
              employees performing health care services for Defendant
              since January 1, 2019 who were paid on an hourly basis and
              did not receive overtime payment at a rate of one and one-half
              times their regular rate of pay for all hours worked in a
              workweek in excess of 40.

       2.     Approves Plaintiff’s Proposed Notice of Collective Action Lawsuit and

Consent to Class (Doc. 8-1);
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       3.     Appoints Greg R. Mansell, Carrie J. Dyer, and Rhiannon M. Herbert of

Mansell Law LLC as Class Counsel for the conditionally certified collective class; and

       4.     Approves the Notice Period, Extended Notice Periods, and notice

procedures as described in the joint stipulation (Doc. 8 at 3-5).

       Within 14 days of this Order, Defendant shall identify all Putative Class Members

by providing a list of names, last known addresses, and last known email addresses.

       Plaintiff’s motion to certify class (Doc. 6) is now MOOT.

       IT IS SO ORDERED.

Date: January 11, 2021                                           s/ Timothy S. Black
                                                             Timothy S. Black
                                                             United States District Judge




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